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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

CORA GOUDY,

                       Plaintiff,
                                                              Case Number 18-11759
v.                                                            Honorable David M. Lawson

CREDIT ACCEPTANCE CORPORATION,

                  Defendant.
_____________________________________/

                 ORDER OF REFERENCE TO BINDING ARBITRATION
                    AND ADMINISTRATIVELY CLOSING CASE

       The parties have filed a stipulation to resolve the pending case through binding arbitration,

under the conditions and procedures set out in that stipulation [dkt. #5]. The Court, therefore, will

close the case and permit any party to move to reopen it to confirm or challenge the arbitration

award and seek judgment on it.

       Accordingly, it is ORDERED that the parties shall engage in binding arbitration under the

conditions and procedures set out in their stipulation. Arbitration shall be completed on or before

September 7, 2018.

       It is further ORDERED that the parties must notify the court when arbitration has been

completed.

       It is further ORDERED that any party thereafter may move to reopen the case to enforce

or challenge the arbitration award as permitted by law and seek judgment thereon.

       It is further ORDERED that the clerk shall ADMINISTRATIVELY CLOSE the case for

statistical purposes. The closure shall not be considered an adjudication on the merits.
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                                                    s/David M. Lawson
                                                    DAVID M. LAWSON
                                                    United States District Judge

Dated: July 5, 2018




                                              PROOF OF SERVICE

                      The undersigned certifies that a copy of the foregoing order was served
                      upon each attorney or party of record herein by electronic means or first
                      class U.S. mail on July 6, 2018.

                                                        s/Susan Pinkowski
                                                        SUSAN PINKOWSKI




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